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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

   CITY OF GREENVILLE, ILLINOIS, et al.                           )
   individually and on behalf of all others similarly situated,   )
                                                                  )
                  Plaintiffs,                                     )
   v.                                                             )
                                                                  )     Case No. 3:10-cv-188-JPG
   SYNGENTA CROP PROTECTION, INC., and                            )
   SYNGENTA AG,                                                   )     ORAL ARGUMENT
                                                                  )     REQUESTED
                                                                  )
                  Defendants.                                     )

               DEFENDANT SYNGENTA CROP PROTECTION, LLC’S
        MEMORANDUM IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
            ON THE CLAIMS OF PLAINTIFF CITY OF MARION, KANSAS

          This Court should enter summary judgment in favor of Defendant, Syngenta Crop

   Protection, LLC (“Syngenta”), on all of the claims of Plaintiff, City of Marion, Kansas

   (“Marion”), because as a matter of law Marion lacks standing to assert those claims. Marion

   lacks standing because there is no specific, imminent threat of atrazine in its water supply in

   excess of the maximum contaminant level (“MCL”) of 3 parts per billion (“ppb”), which was

   established by the U.S. Environmental Protection Agency (“EPA”) in 1992, after extensive

   scientific review, and adopted by the Kansas Department of Health and Environment (“KDHE”).

          Not surprisingly, in 1995, the KDHE approved a significant reduction in the monitoring

   Marion had to do for atrazine; namely, from once every quarter to once a year.1 This is a direct

   result of the consistently low to nonexistent levels of atrazine in Marion’s water supply. Since

   then, the only water results reported with regard to the U.S. EPA’s Safe Drinking Water Act

   (“SDWA”) are annual results also all under 1.1 ppb.2 Because Marion’s water readings for


   1
     See Exhibit 3 (Letter from the KDHE to Marion from April 18, 1995, labeled with Bates
   Number MARION010441). The four detects that year were 1.0, 0.3, 0.6, and 0.8 ppb.
   2
     See Exhibit 4.

                                                     1
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   atrazine fall considerably below the atrazine MCL, there is no risk of imminent injury to Marion.

   As a result, Marion has not suffered an injury as a matter of law, and Defendant is entitled to

   summary judgment.


                                      STATEMENT OF FACTS

          Atrazine is a synthetic organic compound (“SOC”) and has been a very valuable

   herbicide for growers of corn, sorghum and sugar cane since it was first registered in the United

   States in 1958. Atrazine is advantageous to farmers because it does not readily bind to soil and

   has limited solubility in water.3 In 2006, the U.S. EPA re-registered atrazine after a twelve-year,

   thorough scientific review from the standpoint of both environmental risk and human safety. In

   re-registering atrazine, the EPA concluded that atrazine posed “no harm that would result to the

   general U.S. population, infants, children or other...consumers.”

          The EPA regulates atrazine, and a community water supplier (“CWS”) is required under

   the SDWA to test its finished drinking water for atrazine and many other substances at points

   where the water enters the distribution system. 40 C.F.R. 141.24(h)(2). Since 1991, the EPA

   has set the MCL for atrazine at 3 ppb, computed on a four quarter finished water rolling average.

   56 Fed.Reg. 3526-01 (Jan. 30, 1991); § 40 CFR 141.50(b).4 MCLs are deemed “safe levels that

   are protective of public health.” 52 Fed. Reg.25690, 25693-94 (July 8, 1987). MCLs are based

   on “the best available, peer-reviewed science and supporting studies,” as well as “data collected

   by accepted methods or best available methods.” 42 U.S.C. 300g-1(b)(3)(A)(i)-(ii). All six

   3
    First Amended Complaint at ¶ 30.
   4
    The SDWA only regulates finished water, not raw water. 40 CFR§141.24 (h)(2). The
   regulatory bodies in Illinois, Indiana, Iowa, Missouri, Kansas and Ohio similarly use 3 ppb as
   their MCL, even though each could have chosen an MCL lower than 3 ppb, if desired. This
   human health based MCL of 3 ppb carries with it a 1000 fold safety factor over the lowest level
   showing no adverse effects in laboratory animals. “Drinking water that meets the EPA standard
   is associated with little or no potential health risk.” See Iberville Parish Waterworks No. 3 v.
   Novartis Crop Protection, Inc., 45 F. Supp.2d 934, 938 (S.D. Al. 1999).

                                                    2
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   states involved in this litigation have adopted the U.S. EPA 3 ppb MCL standard for atrazine in

   drinking water.5

          Doug Kjellin has been the City Administrator for Marion since January 1, 2011, and also

   has been the Economic Development Manager since 2008. (See Exhibit 1, copy of the June 29,

   2011 deposition of Doug Kjellin at pp. 22–24). Mr. Kjellin succeeded David Mayfield, who was

   the previous City Administrator. (See Exhibit 1 at p. 64, ll. 24–25). Mr. Kjellin was a Rule

   30(b)(6) representative for Marion. (See Exhibit 1 at pp. 9-12). Marty Fredrickson, a Class II

   water treatment operator and the street superintendent for the Marion water treatment plant, was

   the other representative for Marion at its Rule 30(b)(6) deposition on June 28 and 29, 2011. (See

   Exhibit 2, copy of the June 28, 2011 deposition of Marty Fredrickson at p. 18, ll. 4–23, pp. 20–

   21, p. 34, ll. 12–23). Together, Mr. Kjellin and Mr. Fredrickson provided the following

   testimony on behalf of Marion.

          Marion obtains its raw water from the Marion Reservoir. (See Exhibit 1 at pp. 31–34).

   The Marion Municipal Water Company first started treating and distributing water in 1938.

   (Exhibit 1 at p. 30, ll. 6–16). Marion upgraded the clearwell in 2000, and in 2007 it undertook a

   major expansion into ozone treatment. (Exhibit 1 at p. 30, ll. 17–21). Marion used powdered

   activated carbon (“PAC”) in its water treatment plant from 1963 through 2007 specifically for

   taste and odor control. (Exhibit 2 at p. 75, ll. 9–12). Along with the 2007 ozone expansion,

   Marion installed granular activated carbon (“GAC”) as its filter media. (See generally Exhibit 2

   at pp. 117–130). Instead of installing size twenty by fifty (20 x 50) GAC mesh, which typically

   was used for the treatment of municipal drinking water, Marion installed eight by thirty (8 x 30)

   5
    See Ill. Admin. Code §§ 611.100, 611.311; Mo. Code Regs. Ann. Tit. 10, § 60-4.040 (2003);
   Kan. Stat. Ann. § 65-1,176 (West 1997); 327 Ind. Admin. Code 8-2-5, § 5.(a) (1987); Ohio
   Admin. Code 3745:81-12(2010); Iowa Admin. Code r. 567-61.3(3), Table 1 Criteria for
   Chemical Constituents. A copy of these regulations is attached as Exhibit 7 for ease of
   reference.

                                                   3
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   mesh, which typically is used for the absorption of taste and odor. (See Exhibit 2 at pp. 124–125,

   126, ll. 5–10; see also Exhibit 19 to the deposition of Mr. Fredrickson, attached here as Exhibit

   6). Further, Mr. Fredrickson himself made the decision to install GAC on only one of the three

   filters at the plant in order to ensure that the other filters still served as an alternative disinfection

   method if the ozone equipment malfunctioned. (See Exhibit 2 at pp. 121–122).

           Marion’s raw and finished water never has exceeded 3 ppb on a four quarter rolling

   average; in fact, Marion has never had a finished water detect higher than 1.1 ppb according to

   the records it has kept since 1994. (See attached Exhibit 1 at p. 126, ll. 4–8, p. 145, ll. 19–24;

   see also attached Exhibit 2 at p. 99, ll. 12–24). Moreover, Marion never even tested its raw water

   for atrazine until February 25, 2011 at the request of its own counsel. (See Exhibit 2 at pp. 107–

   109). And even though defense counsel has not been privy to the results of these raw water

   samples, Mr. Frederickson stated that none of the raw water testing conducted by Marion ever

   exceeded 3 ppb. (Exhibit 2 at p. 99, ll. 18–24). Mr. Frederickson further stated that, prior to

   counsel’s instructions to start monitoring its raw water for atrazine, Marion only started testing

   its raw water in January 2010 on a monthly basis for total organic carbons (“TOCs”). (See

   Exhibit 2 at pp. 24–26).

           Marion’s finished water sample results for atrazine are provided in the table below, which

   is submitted as a Federal Rule of Evidence Rule 1006 summary of sample results produced by

   Marion. The abbreviation, “ND,” stands for “non-detect.” The table does not include any raw

   water sample results for atrazine because Marion did not test its raw water samples for atrazine

   until instructed to do so by its counsel in 2011.




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                                                Atrazine
                                                          Detectio
     Name     Year Sample Date          Type   Concentra                          Bates No.
                                                           n Limit
                                               tion (ppb)
    Marion     1994    4/13/1994   Finished       1.00      0.10           MARION010101
    Marion     1994   11/29/1994   Finished       0.60      0.10           MARION010101
    Marion     1995    2/22/1995   Finished       0.60      0.10           MARION010441
    Marion     1996    4/15/1996   Finished       0.53      0.30           MARION010860
    Marion     1998    4/29/1998   Finished       0.48      0.10           KS.FOIA.0003496
    Marion     1999    6/7/1999    Finished       0.62      0.10           KS.FOIA.0003555
    Marion     2000    6/4/2000    Finished       0.37      0.10           KS.FOIA.0003630
    Marion     2001    6/3/2001    Finished        ND       0.30           MARION011887
    Marion     2002    6/10/2002   Finished       1.10      0.10     MARION012436 (MARION012457)
    Marion     2003    6/23/2003   Finished       0.62      0.30     MARION012611 (MARION012625)
    Marion     2004    6/9/2004    Finished       0.50      0.30           KS.FOIA.0003985
    Marion     2005    6/8/2005    Finished       1.10      0.30           KS.FOIA.0003726
    Marion     2006    6/7/2006    Finished       0.75      0.30           KS.FOIA.0004174
    Marion     2007    6/6/2007    Finished       0.83      0.30           MARION015304
    Marion     2008    6/11/2008   Finished       0.38      0.30           MARION015416
    Marion     2009    6/9/2009    Finished       0.64      0.30           MARION007965
    Marion     2010    6/7/2010    Finished       0.39      0.30           MARION015989


          For the purpose of determining whether an atrazine MCL violation occurs, the applicable

   state agency with jurisdiction over the matter averages the atrazine finished water detect level

   over a four quarter rolling period. If the average concentration of atrazine in those samples

   exceeds 3 ppb, then there is a violation. One sample exceeding 3 ppb does not constitute an

   MCL violation unless it is the only sample taken during those four quarters.

          Significantly, the uncontested facts show that the levels of atrazine in Marion’s raw and

   finished water do not credibly threaten Marion with a potential MCL violation. According to the

   table, no finished water detects have exceeded 1.1 ppb. These results demonstrate that no four

   quarter rolling average even exceeded 1.1 ppb, let alone came anywhere close to approaching

   the 3 ppb MCL for finished drinking water. Additionally, there are no raw water atrazine sample

   results because Marion never deemed it necessary to test the level of atrazine in its raw water

   supply until joining this lawsuit.


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          Marion first was required to test for the presence of atrazine in its finished water in 1994.

   (Exhibit 2, at pp. 61–62, ll.21–25 & 1). Mr. Fredrickson was unable to testify about much of the

   atrazine testing, but the records produced by Marion confirm that Marion first tested its finished

   drinking water for atrazine quarterly in 1994. (See Exhibit 4, a chart providing the lab results

   from 1994 through 2010 taken in accordance with the SDWA). Soon thereafter on April 18,

   1995, Marion received a letter from the KDHE informing it that it could reduce its atrazine

   monitoring from quarterly to annually. (See Exhibit 3, a letter from the KDHE to Marion dated

   April 18, 1995, labeled with Bates Number MARION010441, and indicating finished drinking

   water results of 1.0, 0.3, 0.6, and 0.8 ppb for the quarterly results). The KDHE reduced this

   requirement because it determined the Marion system “to be reliably and consistently below the

   MCL for atrazine.” (See Exhibit 4).

          After KDHE lowered Marion’s monitoring requirement, Marion submitted annual

   finished drinking water tests through 2010. These test results consistently were below the 3 ppb

   MCL; in fact, they were all below 1.1 ppb. (See Exhibit 4.) These results also are reflected in

   the annual Consumer Confidence Reports (“CCRs”), which Marion uses to communicates to its

   customers about the quality of its water.6 (See Exhibit 5, copies of the CCRs for 1998 through

   2010 obtained from Marion and through the Freedom of Information Act (“FOIA”), in globo).7

   The data through 2010 reflects all of the atrazine SDWA testing data provided by Marion to




   6
     These CCRs were not discussed in either Marty Fredrickson’s or Doug Kjellin’s deposition, but
   Plaintiffs’ counsel did stipulate and authenticate as business records the CCRs from 1998
   through 2010 at Marty Fredrickson’s Rule 30(b)(6) deposition on June 29, 2011. Exhibit 2 at p.
   131, ll. 2–22.
   7
     These CCRs cover every year between 1998 and 2010, but Marion apparently did not test report
   atrazine test results in its CCRs in 2001, 2002, or 2003. A summary of these detects in the CCRs
   is as follows: 0.48 (1998), 0.62 (1999), 0.37 (2000), 0.5 (2004), 1.1 (2005), 0.75 (2006), 0.83
   (2007), 0.38 (2008), 0.64 (2009), and 0.39 (2010).

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   Syngenta. There is no atrazine testing data for 2011 because Marion has not produced any

   atrazine testing data for this time period.

          Mr. Kjellin did not conduct any research into atrazine until April 2009, when he did some

   preliminary Google searches on “atrazine” for the then City Administrator, Mr. Mayfield. (See

   Exhibit 1 at pp. 69, 150–151). Mr. Kjellin did not conduct any research into the health effects of

   atrazine. (See Exhibit 1 at pp. 127–129). Also, Mr. Fredrickson never performed any research on

   atrazine, nor was he aware of any research that Marion had performed on atrazine or its health

   effects. (See Exhibit 2 at pp. 68, 72). Marion never issued materials or warnings to its customers

   that its water was unsafe because of the potential human health effects of atrazine in its drinking

   water. (See Exhibit 2 at p. 72). Nor has Marion convened a council meeting to advise its

   citizens of any potential health effects of atrazine. (See Exhibit 1 at p. 129, ll. 7–13). Prior to

   speaking with its attorneys, no one at Marion thought that or knew whether atrazine in water at

   levels below 3 ppb was a human health hazard. (See Exhibit 1 at pp. 148–149). In contrast, on

   the CCRs that Marion distributes to its customers, it assures them, “The bottom line is that your

   drinking water is safe.” (See generally Exhibit 5). Thus, the undisputed facts demonstrate that

   there is no specific, imminent threat of atrazine in Marion’s raw or finished water supply.



                                                 ARGUMENT

          This Court should enter summary judgment in favor of Defendant on all of Marion’s

   claims because there is no specific, imminent threat of atrazine in its water supply that threatens

   the MCL or exceeds the MCL.




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   I.     Legal Framework for Summary Judgment in This Case

          A.      Summary Judgment Standard

          Summary judgment is appropriate when the moving papers show there is no genuine

   issue of material fact and the movant is entitled to judgment as a matter of law. FED. R. CIV. P.

   56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Maclin v. SBC Ameritech, 520 F.3d

   781, 785 (7th Cir. 2008). Once a moving party has met its burden, the non-moving party must

   go beyond the pleadings and set forth specific facts showing there is a genuine issue for trial.

   FED. R. CIV. P. 56(e); Ptasznik v. St. Joseph Hosp., 464 F.3d 691, 694 (7th Cir. 2006). A mere

   scintilla of evidence in support of the non-movant’s position is insufficient. Anderson v. Liberty

   Lobby, Inc., 477 U.S. 242, 252 (1986). A party will not be successful in opposing summary

   judgment unless it presents “definite, competent evidence to rebut the motion.” EEOC v.

   Roebuck & Co., 233 F.3d 432, 437 (7th Cir. 2000). Rule 56(c) mandates the entry of summary

   judgment against a party “who fails to make a showing sufficient to establish the existence of an

   element essential to that party’s case, and in which that party will bear the burden of proof at

   trial.” Celotex, 477 U.S. at 322.

          B.      Choice of Law

          Plaintiffs claim to be citizens of six different states, each of which has its own laws

   governing tort actions. A federal court sitting in diversity applies the choice of law rules of the

   forum. Chang v. Baxter Healthcare Corp., No. 09-2280, 2010 U.S. App. LEXIS 6257, at *6 (7th

   Cir. Mar. 26, 2010). See also Restatement (Second) of Conflict of Laws, §5, Comments a, b, at

   9 (1971) (“Subject to constitutional limitations, the forum court applies the choice-of-law rules

   of its own state.”); accord Wells v. Simonds Abrasive Co., 345 U.S. 514, 516 (1953).

          Illinois applies the “most significant relationship” test to determine which state’s

   substantive law applies. In re Trans Union Corp. Privacy Litig., 211 F.R.D. 328, 343 (N.D. Ill.


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   2002). Under this test, the law of the place of injury presumptively applies. Fredrick v.

   Simmons Airlines, 144 F.3d 500, 504 (7th Cir. 1998); Abad v. Bayer Corp., 563 F.3d 663, 669

   (7th Cir. 2009) (same); Carris v. Marriott Int’l Inc., 466 F.3d 558, 560 (7th Cir. 2006) (same);

   see also Restatement (Second) of Conflict of Laws, § 147, Comment e (“[t]he local law of the

   state where the injury occurred is most likely to be applied when the injury is done to land or to a

   chattel that has a settled connection with the state, which means that it is located in the state for

   other than a temporary purpose.”) Thus, the laws, excluding conflicts provisions, of each of the

   six separate states apply to each of the causes of action raised by the Plaintiffs residing in each

   state. See, generally, Barbara’s Sales, Inc. v. Intel Corp., 227 Ill.2d 45, 879 N.E.2d 910, 925

   (2007). Here, Kansas substantive law applies to each of Marion’s claims because Marion’s

   alleged injuries were sustained in Kansas.

   II.    Marion Has Not Suffered Any Injury in Fact

          The doctrine of standing is part of the U.S. Constitution’s restriction of federal courts’

   jurisdiction to actual cases or controversies. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560

   (1992); see U.S. Const. art. III, § 2. There are three elements of standing:

            First, the plaintiff must have suffered an injury in fact – an invasion of a legally
            protected interest which is (a) concrete and particularized and (b) actual or
            imminent, not conjectural or hypothetical…. Second, there must be a causal
            connection between the injury and the conduct complained of – the injury has to
            be fairly … trace[able] to the challenged action of the defendant, and not … the
            result [of] the independent action of some third party not before the court….
            Third, it must be likely, as opposed to merely speculative, that the injury will be
            redressed by a favorable decision.

   Lujan, 504 U.S. at 560-61 (internal citations, quotations and footnotes omitted); accord Sierra

   Club v. Franklin County Power of Ill., LLC, 546 F.3d 918, 925 (7th Cir. 2008). Marion lacks

   standing because it has not suffered or alleged an injury in fact that is actual or imminent.




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           A.      Marion Lacks Standing to Assert its Trespass, Nuisance, Strict Liability and
                   Negligence Claims

           A federal court considering the atrazine MCL in a similar putative class action already

   has determined that under the federal regulations “[d]rinking water that meets the EPA standard

   is associated with little or no potential health risk presented by Atrazine contamination.” In

   Iberville Parish Waterworks Dist. No. 3 v. Novartis Crop Protection, Inc., 45 F. Supp.2d 934,

   938 (S.D. Al. 1999), affirmed without opinion, 204 F.3d 1122 (11th Cir. 1999), a plaintiff water

   district from Louisiana and one from Ohio filed a putative class action against Syngenta’s

   predecessor to recover past and future costs of removing atrazine from their drinking water. As

   in this case, the plaintiffs sought relief under theories of trespass, nuisance, negligence, and strict

   products liability. 45 F.Supp.2d at 936-37. Because the Iberville Parish plaintiffs could not

   demonstrate that their respective water sources contained atrazine at levels that either exceeded

   the MCL or were in imminent danger of exceeding the MCL, the court concluded that they could

   not establish a redressable injury-in-fact and, therefore, lacked standing to sue. Specifically,

   because the plaintiffs were actually in compliance with drinking water standards, the court

   determined “it cannot be said that either has suffered any actual invasion of a legally protected

   interest. Both water systems seek recompense for an injury that has not, and may never, occur.”

   Id. at 942. Because neither water district established standing to assert claims for costs incurred

   in removing atrazine from drinking water in compliance with the MCL, the plaintiffs were not

   entitled to any relief. Id. at 943.

           Later, in Methyl Tertiary Butyl Ether (“MTBE”) Products Liability Litigation, 458 F.

   Supp. 2d 149, 157-58 (S.D.N.Y. 2006), the court ruled that a public water supplier may sustain

   an injury even when the raw water quality does not exceed the MCL if the level of contamination

   in the raw water supply makes injury likely to occur and causes the public water supplier to incur



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   necessary expenses to remediate the contamination. In MTBE, the plaintiffs alleged that the

   defendants had contaminated their public water supply with gasoline additives, which negatively

   affected the taste and odor of the water. Id. at 151. Although a vast majority of the defendants’

   wells did not exceed the MCL, the Court found that the plaintiffs had standing because they had

   alleged sufficient facts to show that the defendants’ contamination affected the taste and odor of

   their water, which had caused the plaintiffs to incur necessary water treatment expenses. See id.

   at 158-59. Moreover, the court suggested that injury likely had occurred given that the plaintiffs

   had been required to shut down wells due to contamination. See id. at 159.

          Unlike the Iberville Parish case, the MTBE case is a minority opinion which actually

   distinguished its own facts from the Iberville Parish atrazine case. Contrary to Iberville Parish,

   the MTBE court found that there were sufficient facts to demonstrate a causal relationship

   between the plaintiffs’ remediation expenses and the defendants’ contamination of the water.

   See id. at 158-59. Conversely, in Iberville Parish, there was no causal relationship between any

   contamination and the level of atrazine in the water. See id. at 156. In addition, MTBE involved

   issues of offensive water taste and odor, with separate lower level MCLs, that neither the

   Iberville Parish atrazine case nor this atrazine case involve. Id. at 154-56 & n.42. The MTBE

   plaintiffs claimed injury from low level contamination that affected water quality because of

   offensive taste and odor, separate and apart from threats to health or the environment. Id. at 159-

   160. Significantly, the MTBE court specifically noted that the MCL inquiry is actually well

   suited to cases involving contamination posing a threat to health or the environment, Id. at 158,

   n.47, which are the allegations that Marion asserts in this case as the reason it must incur

   additional costs of doing business.

          Notwithstanding the court’s opinion in MTBE, courts increasingly are using regulatory

   standards to define common law duties in toxic tort cases as was done in Iberville Parish.


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   Indeed, numerous courts have incorporated the MCL into their analysis of whether there is a

   threat of injury to support a claim, or a duty owed, and found no injury when chemical levels do

   not exceed the MCLs. These opinions recognize that the legislative branch sets chemical level

   standards based on current scientific and health information, which offer objective, bright line

   tests for courts to follow.8

           A series of federal appellate decisions over the last eighteen months consistently has

   rejected common law claims of trespass or nuisance where there was no violation of the federal

   standard. In Rhodes v. E.I. DuPontde Nemours and Co., No. 10-1166, 2011 U.S. App. LEXIS

   7199 (4th Cir. Apr. 8, 2011), the Fourth Circuit affirmed the entry of summary judgment in favor

   of the defendant on all of the plaintiff’s claims (including trespass and nuisance) except for the

   claim for medical monitoring. The plaintiffs, residential water consumers, alleged that a DuPont

   plant discharged perfluorooctanoic acid (“PFOA”) into the environment, which polluted their

   municipal drinking water and could be detected in their blood. The court held that the mere

   8
    See also, Rockwell v. Wilhite, 143 S.W.3d 604, 618 n.71, 625 & 627 (Ky. Ct. App. 2004)
   (finding that the plaintiffs did not establish injury on their trespass and nuisance claims where
   PCBs on plaintiffs’ land were below the federal standard); Rose v. Union Oil Company of
   California, No. C97-3808, 1999 WL 51819, *9 (N.D. Cal. 1999) (granting summary judgment
   where plaintiffs could not establish injury for RCRA negligence and nuisance claims because
   alleged chemical levels were below MCL); Brooks v. E.I. DuPont de Nemours & Co., 944 F.
   Supp. 448, 449 (D.N.C. 1996) (granting summary judgment where chemical levels on plaintiffs’
   properties did not exceed state groundwater standards); Hartwell Corp. v. Superior Court of
   Ventura Co., 27 Cal. 4th 256, 276 (determining that the plaintiff had no claim against water
   authorities when drinking water met state water quality benchmarks); City of Moses Lake v. U.S.,
   430 F.Supp.2d 1164, 1184-85 (E.D. Wa. 2006) (concluding that there is an absence of injury
   under nuisance, trespass or negligence when wells do not exceed MCL concentrations); Adams v.
   A.J. Ballard, Jr. Tire & Oil Co., 2006 WL 1875965, *31-32 (N.C. Super. June 30, 2006)
   (allowing only the plaintiffs with private water wells contaminated above MCL levels to pursue
   claims for negligent contamination); Gleason v. Town of Bolton, 14 Mass L. Rep. 678, 2002 WL
   1555320 (Mass. Super. 2002) (ruling that the plaintiff suffered no compensable injury and his
   claims for negligence, trespass, nuisance and strict liability failed where the MTBE levels in the
   water supply never exceeded the MCL); In re: Wildewood, 52 F.3d 499, 501 (4th Cir. 1995)
   (finding that the TCE contamination levels of lake were near or above federal and state drinking
   water MCLs but still did not rise to level of concern to interfere with use and enjoyment of
   property).

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   presence of PFOA in the public water supply or in the plaintiffs’ blood was not enough, standing

   alone, to establish a harm or injury for negligence or trespass claims. Id. at *10. The court

   further held that the plaintiffs could not state claims for public or private nuisance.9

          In State of North Carolina v. TVA, 615 F.3d 291 (4th Cir. 2010), the Fourth Circuit

   reversed an injunction requiring defendant to install emissions controls at electricity generating

   plants which purportedly caused a public nuisance in North Carolina. The court held that the

   defendant could not be liable under state nuisance law where it was in compliance with EPA

   requirements. The court stated, “[i]t ill behooves the judiciary to set aside a congressionally

   sanctioned scheme of many years’ duration – a scheme, moreover, that reflects extensive

   application of scientific expertise and that has set in motion reliance interest and expectations on

   the part of those states and enterprises that have complied with its requirements.” Id. at 301.

          In Cook v. Rockwell International, __ F.3d __ (10th Cir. Sept. 3, 2010), the Tenth Circuit

   rejected the plaintiffs’ trespass and nuisance claims arising from the defendants’ release of

   plutonium particles onto the plaintiffs’ properties. The court specifically found that expert

   testimony that “any exposure to plutonium whatsoever increases the risk of health problems to




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     Similarly, in Emerald Coast Utilities Auth. v. 3M Company, 746 F. Supp. 2d 1216 (N.D. Fla.
   2010), the plaintiff asserted various state law tort claims, including public and private nuisance
   and trespass, alleging that toxic chemical byproducts of the defendants’ industrial operations,
   perflurooctanoic acid (“PFOA”) and perfluorooctanesulfonate (“PFOS”), contaminated its wells.
   Id. at 1218. The defendants moved for summary judgment, arguing that Emerald Coast had
   failed to present any evidence that it was in danger of an MCL violation concerning PFOA or
   PFOS. Id. at 1225-26. Citing the Iberville Parish decision, the court granted the defendants’
   motion for summary judgment, holding “not only did the contamination levels not exceed the
   MCL, but additional undisputed facts show that [Emerald Coast] has not suffered any injury as a
   result of the presence of [PFOA and PFOS] in its water supply.” Id. at 1228. These “additional
   undisputed facts” included, inter alia: (1) “Emerald Coast’s water supply has never been
   contaminated above any EPA advisory level”; (2) there was no evidence of monitoring or testing
   costs; and (3) there was no evidence of the frequency with which Emerald Coast changed its
   filter to deal with its alleged PFOA and PFOS contamination problem. Id. at 1228-31.

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   some degree” was not enough. Id. at 23.The Court concluded that the plaintiffs must show either

   actual physical damage to the property or loss of use of the property.

           In Koronthaly v. L’Oreal USA, Inc., No. 08-4625, 2010 WL 1169958 (3d Cir. March 26,

   2010), the Third Circuit affirmed dismissal of a class action complaint for lack of standing where

   lead in lipstick was below the FDA threshold for safety and concluded that the plaintiff had

   asserted “only a subjective allegation that the trace amounts of lead in the lipsticks are

   unacceptable to her, not an injury-in-fact sufficient to confer Article III standing.”

           In Farina v. Nokia, Inc., 625 F.3d 97 (3d Cir. 2010), the Third Circuit affirmed the

   district court’s dismissal of a putative class action asserting claims under Pennsylvania common

   law that cell phone manufacturers made false statements concerning the safety of cell phones.

   Id. at 104-05. The district court dismissed the plaintiffs’ claims because the defendants’

   representations regarding safety were consistent with regulations promulgated by the Federal

   Communications Commission (“FCC”) stating that the cell phones at issue were safe. Id. at 121-

   23. The Third Circuit affirmed the district court’s holding that the plaintiffs’ claims were

   preempted because, in order to prevail on their claims, the plaintiffs would need to challenge the

   FCC’s regulations stating that cell phones were safe. The Court explained:

                  A jury determination that cell phones in compliance with
                  FCC’s…guidelines were still unreasonably dangerous would, in essence,
                  permit a jury to second guess the FCC’s conclusion on how to balance its
                  objectives. Were the FCC’s standards to constitute only a regulatory floor
                  upon which state law can build, juries could re-balance the FCC’s
                  statutory objectives and inhibit the provision of quality nationwide service.

   Id. at 125.

           In this Court’s November 18, 2010 Memorandum and Order (Dkt. 106), this Court wrote

   that “in order to establish standing at the summary judgment stage and at trial, the plaintiffs will

   be required to show that any costs they seek to recover, past or future, must have been or will be



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   necessary in order to satisfy their statutory obligation to provide potable water, not simply to

   serve a lesser, though laudable goal.” Specifically, the plaintiffs must show “levels of atrazine

   in their raw water sources so exceed the MCL” or “the atrazine in the plaintiffs’ raw water

   sources is at a level that credibly threatens to push the atrazine level in the plaintiffs’

   finished water above the MCL.” (Doc.106, p. 8)(emphasis added). Consistent with the recent

   decisions of the appellate courts, this Court added that, in the absence of “a specific, imminent

   threat of atrazine in excess of the MCL, establishing standing will be difficult, if not impossible.”

   Id.

          In the present case, Defendant is entitled to summary judgment because the undisputed

   facts demonstrate that Marion has suffered no injury as a matter of law resulting from

   Defendant’s conduct. Clearly, the atrazine levels in Marion’s finished water do not present an

   imminent threat of an MCL violation. Additionally, the level of atrazine in Marion’s raw water

   does not present a specific, imminent threat of an atrazine MCL violation because Marion never

   deemed it necessary to test its raw water for atrazine until joining this lawsuit, and all raw water

   testing for atrazine conducted since then has not exceeded 3 ppb according to Mr. Fredrickson.

   Contrary to MTBE, the levels of atrazine in Marion’s water supply do not credibly threaten the

   MCL nor do they make injury likely to occur. Rather, both the KDHE testing results and the

   CCRs reveal that the four quarter running average for the level of atrazine in Marion’s finished

   water is far below the atrazine MCL. Additionally, unlike in MTBE, Marion never has been

   forced to shut down operations due to the level of atrazine present in its raw or finished water. In

   fact, in April 1995, well before Marion ever filed this lawsuit, the KDHE allowed Marion to

   reduce its monitoring for atrazine from quarterly to annually, finding Marion’s drinking water




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   “to be reliably and consistently below the MCL for atrazine.”10 And at no time since then has the

   atrazine level posed any credible threat that would even require more frequent monitoring

   requirements. Clearly, the KDHE would not have taken such action, and continued such action,

   if there were an imminent threat of atrazine in excess of the MCL in Marion’s water supply.

             Furthermore, Marion never has issued materials or warnings to its customers that its

   water was unsafe because of the potential human health effects of atrazine in its drinking water.

   (See Exhibit 2 at p. 72). Nor has Marion convened a council meeting or taken steps to advise its

   citizens of any potential health effects of atrazine. (See Exhibit 1 at p. 129, ll. 7–13). Moreover,

   none of the CCRs distributed by Marion identify atrazine as a threat to Marion’s customers;

   instead, Marion has assured them, “The bottom line is that your drinking water is safe.” (See

   generally Exhibit 5). Accordingly, there is no evidence that the level of atrazine present in

   Marion’s water affects the quality of Marion’s water supply or that the level of atrazine present

   below the MCL presents a risk of injury. Because the undisputed facts show that Marion’s

   finished water samples consistently have fallen below the atrazine MCL and that the atrazine

   levels do not pose an imminent threat, Marion has not suffered any injury as a matter of law.

   Therefore, Defendant is entitled to summary judgment.

             Injury is an “indispensable part” of Marion’s claim, and Marion has failed to support its

   claimed injuries “with the manner and degree of evidence required” at the summary judgment

   stage. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). The undisputed facts

   demonstrate that Marion has not suffered injury as a matter of law because it has not incurred

   any necessary costs in monitoring and removing atrazine from its water given that the atrazine

   levels in its water supply do not credibly threaten Marion with an atrazine MCL violation.



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        Exhibit 4.

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   Because Marion has not sustained any injury, Defendant is entitled to judgment as a matter of

   law.

          B.      Marion Lacks Standing to Assert its Declaratory Judgment Claim

          In addition, Defendant is entitled to summary judgment on Marion’s declaratory

   judgment action (Count V) because Marion lacks standing to assert this claim. Primarily, Count

   V does not present an “actual controversy” because it improperly attempts to declare the rights of

   future potential litigants and is duplicative of Marion’s trespass and nuisance claims. Marion

   does not have an atrazine issue, and whether Marion will have an atrazine issue in the future is

   both unlikely and speculative. Accordingly, Defendant hereby incorporates by reference the

   arguments raised in its pending motion to dismiss the declaratory claims in support of its motion

   for summary judgment on Marion’s declaratory claim. See Benjamin v. Ill. Dep't of Fin. &Prof’l

   Regulation, No. 09-5019, 2011 U.S. Dist. LEXIS 87269, at *24 (N.D. Ill. Aug. 8, 2011)

   (permitting the defendants to incorporate by reference a prior argument raised); EBI Holdings,

   Inc. v. Butler, No. 07-3259, 2009 U.S. Dist. LEXIS 11535, at *19-20 (C.D. Ill. Feb. 17, 2009)

   (allowing the defendant to incorporate by reference the arguments raised in the co-defendant’s

   motion to dismiss). Clearly, Marion’s declaratory judgment action raises no “actual controversy”

   as a matter of law. Therefore, the Court should grant Defendant’s motion for summary judgment

   on Marion’s declaratory claim.




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                                         CONCLUSION

          Based on the foregoing reasons and authorities, Defendants’ Motion for Summary

   Judgment should be granted.

                                             Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing has been filed electronically
   with the Clerk of the Court to be served by operation of the Court’s electronic filing system, this
   30th day of November, 2011 to:

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